                 Case 3:21-mj-00030-HTC Document 7 Filed 02/05/21 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA
                                  PENSACOLA DIVISION


        UNITED STATES OF AMERICA

        v.                                                   Case No. 3:21-mj-30/HTC


        TRISTAN CHANDLER STEVENS
        ______________________________/

                          ORDER OF TEMPORARY DETENTION
                   PENDING HEARING PURSUANT TO BAIL REFORM ACT

               Upon motion of the government, it is ORDERED that a detention hearing is

        set for February 10, 2021, at 3:30 p.m., before United States Magistrate Judge

        Hope T. Cannon in the Third Floor North Courtroom at the United States

        Courthouse, 1 N. Palafox Street, Pensacola, Florida. 1 Pending this hearing, the

        Defendant shall be held in custody by the United States Marshal and produced for

        the hearing on the above designated date and time.

               Date: February 5, 2021



                                        /s/   Hope Thai Cannon
                                        HOPE THAI CANNON
                                        UNITED STATES MAGISTRATE JUDGE




1
    See 18 U.S.C. § 3142.
